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United States District Court
for the District of Columbia
-------------------------------------------------X
 UNITED STATES OF AMERICA,

          vs.                                                Criminal No. 21-MJ-0018 (ZMF)

RYAN SAMSEL,

                          Defendant.
-------------------------------------------------X

                       MOTION FOR LEAVE TO WITHDRAW AS
                          ATTORNEY FOR DEFENDANT

         Comes now Steven A. Metcalf II, counsel for defendant Ryan Samsel

(hereinafter “Ryan”) and requests leave of court to withdraw as counsel. In support of

this motion counsel states that following:

          1. Ryan is currently represented by Elisabeth Pasqualini (hereinafter

                “Elisabeth”), and my pro hac vice motion has yet to be granted.1

          2. Between approximately May 2, 2021 and May 13, 2021, Ryan

                continuously told undersigned counsel that he wanted to discharge

                Elisabeth, and that if the undersigned could not proceed that Ryan

                wished to proceed with the Federal Defenders Office, and that is

                precisely the reason Ryan contacted that office in the first place. 2


1
 Since my pro hac vice application was filed, I have been admitted to the District Court, District
of Columbia.
2
    Martin Tankleff, a member of Metcalf & Metcalf was on the call and heard Ryan’s statement.
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3. However, on May 14, 2021, a hearing was held where neither the

   undersigned counsel nor attorney Rob Jenkins were present or notified

   of said hearing.

4. Upon information and belief, during the hearing on May 14, 2021, Ryan

   stated on the record that he wanted to continue with Elisabeth.

5. During the hearing today on May 18, 2021, Elisabeth and the

   Government raised the issue that there may be a conflict with the

   undersigned office.

6. It is undersigned counsels’ position that to fully explain the issues of

   how no conflict exists would require him to reveal attorney-client

   privileged information, which he is not willing to do so.

7. By undersigned counsel withdrawing, he is not leaving Ryan without

   counsel. Ryan can continue with Elisabeth or obtain other counsel,

   which Ryan had indicated, unequivocally up until the day before the

   May 14, 2021 hearing that he would hire the Federal Defenders, if

   Metcalf & Metcalf, P.C. would or could not proceed.

8. In the interest of judicial economy, and to avoid anymore confusion

   and unnecessary allegations, it is in the best interest of undersigned

   counsel and Ryan, that the undersigned withdraw as counsel.

9. It is not necessary to have to continue into attorney-client privileged

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         conversations as to settle the issue of attorney representation.

      10. In light of this, and in furtherance of the undersigned’s pro hac vice

         application having yet to be decided, it is respectfully submitted that

         Steven Metcalf be permitted to withdraw as counsel and that his pro hac

         vice application be stricken from the docket.

      WHEREFORE, undersigned counsel respectfully requests leave to

withdraw as counsel for defendant.

                                               Respectfully submitted,


                                                 /s/   Steven A. Metcalf
                                              STEVEN A. METCALF II, ESQ.
                                              Attorney for Ryan Samsel
                                              Metcalf & Metcalf, P.C.
                                              99 Park Avenue, 25th Floor
                                              New York, NY 10016
                                              646.253.0514 (Phone)
                                              646.219.2012 (Fax)
                                              metcalflawnyc@gmail.com




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                         CERTIFICATE OF SERVICE

       I certify that on this 18th Day of May 2021, the foregoing motion was filed
electronically using the court’s CM/ECF system that will serve all parties.


                                                 /s/ Martin H. Tankleff
                                                    Martin H. Tankleff, Esq.
                                                    Metcalf & Metcalf, P.C.
                                                     99 Park Avenue, 25th Floor
                                                    New York, NY 10016
                                                    646.253.0514 (Phone)
                                                    646.219.2012 (Fax)




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